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United States District Court September 9, 2020
Central District of California

 

 

 

CENTRO OF CALIFORNIA
United States of America BY

 

 

DEPUTY
Plaintiff
Case Number
CR-04-1189(A)-CAS
Vv.

Gabriel Gonzalez
Defendant, Pro Se

Reply to government's medical record inquiry

Gonzalez asks this honorable court to find that Gonzalez has received no medical
care or treatment for his Coronavirus infection and is entitled to compassionate

release or other safeguard from the continuing harms posed to him.

The government's findings

The government's recent inquiry into Forrest City's medical records show:

. Gonzalez was COVID-19 asymptomatic on or about 5/13/20 when he was first tested
by the CDC.

* Gonzalez was quarantined beginning 5/20/20 as a result of testing positive
for the Coronavirus.

: To the present date, Gonzalez has received no interview, examination, imaging
examination, or medical treatment for his infection except for several weeks

of temperature checks which were given to all prisoners regardless of their
infection status.

: Despite the prison's assertion that he is now clear of the virus Gonzalez
continues to remain in quarantine with approximately 160 infected prisoners.

I. a. The prison has adopted a practice of declaring an infected prisoner ‘'recovered'
when 14-days has elapsed from the date he was discovered to be infected.

This practice is not only dangerous, but is irresponsible because there is

no way to discern if the prisoner's condition has worsened, has changed, or has
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resulted in pain or injury solely by relying on the passage of time.

Gonzalez declares to have developed moderate symptoms during his course of
infection and for months has begged medical services to examine him and begin treatment.
(see Exhibits requesting medical care submitted in Gonzalez’ motion 7/15/20).

The fact that Gonzalez has suffered moderately painful symptoms is elaborated in
his declaration. (Exhibits AA and IT).

Gonzalez intentionally chose not to declare his symptoms through the semi-public
prison e-mail system for fear he would be placed in a punitive-like quarantine
environment as he has witnessed to be the practice when others have complained
of as little as a cough. These quarantine areas include being housed in the prison's
brick-and-concrete woodshop, the malodorous concrete gymnasium, the SHU, or even
in the notoriously fridgid 'B' building areas. Instead, Gonzalez‘ goal was to
discuss his discomforts with his primary physician, M.D. Kapur, in order to discuss

his symptoms, pains, and treatment plan.

b. Gonzalez' medical records are incorrect and misleading.

Gonzalez asserts he has never received a 'clinical encounter performed at
health services’ with Dr. Kapur, or any other medical technician and that the generic
title used in his, and all prisoner's medical records, is misleading and inaccurate.
The boilerplate denial of symptoms appears to be a rote recitation inserted in
each prisoner's file subsequent to medical staff's speculation of recovery for
each prisoner. (see Declaration Exhibits).
In fact, prisoner's who have been placed in the various areas of quarantine
receive the same type of treatment (or lack of medical treatment) without any indication
differing from the records held by asymptomatic prisoners. Aside from receiving
the same temperature checks done in the housing units, the only difference in medical

treatment appears to be in their assigned housing. This point supports Gonzalez’
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previous assertion that the CDC's study at Forrest City is based upon observing
the spread and rate of infection among prisoners of differing categorical stages
of infection. The CDC was never here to treat or contain the virus and it's published
guidelines to the public are based, in part, upon observations of the suffering
and degeneration of prisoner's health at FCI Forrest City.

The only prisoners to have received meaningful medical care have been those
too far progressed to care for themselves and who were removed to off-site hospitals
for treatment.

Cumulatively, over 1300 prisoners and staff at Forrest City have contracted
the Coronavirus under this regime. Beginning the latter part of July, Forrest
City-Low is experiencing a resurgence of infected as several, previously untainted
housing units (i.e. M/A and H/D), are producing large numbers of new infections.
There exists, also, a number of prisoners who are experiencing symptoms of reinfection

despite having been in quarantine past the 14-day recommended time. (Exhibit AA).

Ii. ‘The prison at Forrest City remains unsafe and hostile to contemporary standards
of ethical prisoner treatment.

a. The U.S. Department of Labor Occupational Safety and Health Administration

(OSHA) and the prison guard's union endorse Gonzalez' perceived failures of
the prison.

In response to a recent complaint filed by Shane Fausey, Council President
of Prison Locals 33, OSHA issued an "Imminent Danger Report" specifically naming
Forrest City, among others, as "proliferating the spread of a known deadly contagion
both within our prison system and to our surrounding communities." (Exhibit BB,
p-3, parag. 2). The complaint and report cite numerous instances of BOP violations
of CDC guidelines which have ultimately resulted in dozens of guard's deaths, and
hundreds of prisoner deaths.

For the sake of judicial economy, OSHA's Imminent Danger Report stands to
speak for itself.
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b. The BOP strikes back.

In response to similar criticism of the BOP's mismanged handling of Coronavirus
protocol, the Agency blamed the Centers for Disease Control and Prevention guidelines
for many of its cited problems. (Exhibit CC, pg. 2, parag. 6-"not my fault"). This
response came shortly after an exceptionally harsh Pandemic Response Report issued
by the Department of Justice Office of the Inspector General. (Exhibit DD). Although
this report focuses mostly on recent events in other BOP prisons. its findings are
strikingly identical to the practices and deficiencies at Forrest City.

Generally. the report cites COVID-19 transmission has been attributed to BOP
staff moving between various prison areas and between prisons. There is no limitation
to staff movement at Forrest City and the prison is experiencing recent increases
in positive cases. (Exhibit EE).

Of interest is the OIG's finding that staff screening, examination, and treatment,
much like prisoner screening and treatment, has been limited to "self-reporting
and temperature checks.'"' (Exhibit DD, p-9, parag. 2). And that the isolation
of prisoners in various levels of quarantine are referred to as being in "medical
isolation" to distinguish it from punitive action. (Id. p./l, fn 19).

This denotation implies the existence of punitive treatment and punitive conditions
under this procedure, much like the conditions described by prisoner Green. (Exhibit FF).

Finally, the OIG reports that the CDC recommended personal protective equipment
and face coverings be issued to inmates and staff and that the issue of surgical
masks was to be used "as an interim measure" in implementing CDC guidance. (Exhibit OQ
p./3, parag. 2).

The distribution of makeshift cloth face coverings at Forrest City remain
the only PPE issue to date and are uncertified as to their quality and effectiveness
in preventing COVID-19 transmission. (Exhibit GG)(not to court: This exhibit was

unused and remains sterile in consideration for the court's safety in its contact
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and examination of its contents).

The findings and conclusions of the OIG indicate the BOP's practices fall
short of the CDC's minimum standards and guidance and indicate a need for significant
improvement before minimum levels of safety are met for staff, prisoners, and the

surrounding communities.

TIT. Conclusion

The prison at Forrest City no longer claims that its cloth face coverings
prevent infection. Instead, the prison claims the prisoner-issue PPE mask will
only "help slow the spread of COVID-19" (Exhibit HH) indicating infection is imminent.
This condition is particularly harsh in knowing the prison provides no medical
treatment to those who test positive, and that the government has confirmed "it
does not appear [Gonzalez] received treatment."' (Doc. 216, p.3. item d).

Prison medical records further obfuscate the truth as to the medical care
and treatment received by prisoners because a rote response is used to address
each prisoner's record which rely only upon the passage of time for a determination
of recovery. (see declaration exhibits). Additional examples of this mechanical
medical reporting are available upon request by this court, or by the government.

Meanwhile, OSHA, the OIG, the prison guard's union, and experts everywhere
continue to declare this prison's environment to be lethal and an affront to the
dignity of humanity. (Exhibit JJ). Many courts have followed suit and have issued
compassionate release orders, including once recently to a prisoner with a life
sentence-Felix Walls on or about 4/24/20 who was housed at Forrest City. Other

recent releases from Forrest City prison include:

: Chuckie Lacy 2020 US Dist (Illinois) LEXIS 76849 May 1, 2020 15-CR-30038,
. Michael Anderson Springfield, Illinois LEXIS 86550 May 18,2020 15-CR-30015,
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. Keith Halliburton Central Dist. Illinois LEXIS 102241 June 11,2020 17-CR-20028
. Lamar Chapman N. Dist. Illinois LEXIS 96356 June 2, 2020 09-CR-0741

Willie Joe Mason S. Dist. Mississippi LEXIS 100704 June 9, 2020 3:17-CR-104-CWR
° Martineza Dewan McCall Mid. Dist. Alabama LEXIS 102095 June 4, 2020 2:18-CR-95

° Steven Lavy Dist. of Kansas LEXIS 103861 June 15,2020 17-20033-JAR

Gonzalez prays this court find merit in the points and facts presented throughout
this litigation and asks to be placed in the court's custody under the provisions
afforded by compassionate release RIS, or any other immediate relief thsi court

finds proper and just.
Verification

I have read the foregoing Reply to government's medical record inquiry and
hereby verify that the matters alleged herein are true, except as to matters alleged
on information and belief, and as to those, I believe them to be true and correct.
Executed at Forrest City, Arkansas on this 11th day of August, 2020.

ALE

Gabriel Gonzalez
Defendant, Pro Se

Certificate of Service
I certify under the penalty of perjury that the foregoing Reply to governmetn's
medical record inquiry was placed in the prison's internal mail system, postage
pre-paid, for service upon this court via U.S. mail on this 11th day of August, 2020
to 312 N. Spring Street Los Angeles, California 90022. Gonzalez asks this court's
clerk to serve all other interested parties by electronic notification and to provide

him with a stamped and filed copy of this motion.

Gabriel Gonz
Defendant, Pro Se
 

 

 

 

 

 

 

 

 

 

 

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